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Declaration of eae ee
Pursuant to 28 U.S.C Section 1746, iE make the following
declaration.

1.

I am over the age of 21 years and I am under no legal disability, which would prevent me
from giving this declaration.

I was an electronic intelligence analyst under 305" Military Intelligence with experience
gathering SAM missile system electronic intelligence. I have extensive experience as a white
hat hacker used by some of the top election specialists in the world, The methodologies [
have employed represent industry standard cyber operation toolkits for digital forensics and
OSINT, which are commonly used to certify connections between servers, network nodes
and other digital properties and probe to network system vulnerabilities.

Iam a US citizen and I reside aaa location in the United States of America.
Whereas the Dominion and Edison Research systems exist in the internet of things, and
whereas this makes the network connections between the Dominion, Edison Research and
related network nodes available for scanning,

And whereas Edison Research’s primary job is to report the tabulation of the count of the
ballot information as received from the tabulation software, to provide to Decision HQ for
election results,

And whereas Spiderfoot and Robtex are industry standard digital forensic tools for evaluation
network security and infrastructure, these tools were used to conduct public security scans of
the aforementioned Dominion and Edison Research systems,

A public network scan of Dominionvoting.com on 2020-11-08 revealed the following inter-
relationships and revealed 13 unencrypted passwords for dominion employees, and 75

hashed passwords available in TOR nodes:
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